 STATE OF NORTH CAROLINA                                                                                                                         ► FileN~ l { ( J . J s a , t o i
                                                                         ~   '.'!P                  f!:'~ f'"\
                       ROBESON                          County           t'· ,,       b ,.;:.....
                                                                                                    ' .,~·- :,         ,.;
                                                                                                                 '~~,,_)·                                 D
                                                                                                                                                                In The General Court Of Justice
                                                                                                                                                              District IR] Superior Court Division
Name And Address Of Plaintiff 1
                                                                20.. /; f\. ,, ._
                                                                    L,         ~D                           ,, il : '•8
Rudy Locklear                                                                     ;   20                  I-'\      1.2, ',
                                                                                                                                                              GENERAL
                                                                 RC S[ :~:;~ !:: c:cof ·:. S. C                                          CIVIL ACTION COVER SHEET
                                                                                                                                ~ INITIAL FILING                           □ SUBSEQUENT FILING
Name And Address Of Plaintiff 2                                                                                                Rule 5(b), General Rules of Practice For Superior and District Courts
                                                                 BY·--•--··-~·•· _ Name And Address Of Attorney Or Party, If Not Represented (complete for initial
                                                                                   appearance or change of address)

                                                                                                                  Elizabeth B . Hilker
                                                                                                                  Elliot Morgan Parsonage, PLLC
                                       VERSUS                                                                     300 E . Kingston Avenue Suite 200
Name Of Defendant 1                                                                                               Charlotte, NC 28203
Robeson Community College                                                                                          Telephone No.
                                                                                                                                     7047073705
                                                                                                                                                                              I    Cellular Telephone No.

                                                                                                                  NC Attorney Bar No.                     Attorney E-Mail Address
                                                                                                                   49083                                  ehilker~emplawfirm.com
                                                                                                                                                      '
Summons Submitted IR] Yes D          No
                                                                                                                      18] Initial Appearance in Case                                         J   D     Change of Address
Name Of Defendant 2                                                                                               Name Of Firm
                                                                                                                  Elliot Morgan Parsonage, PLLC
                                                                                                                  FAX No.
                                                                                                                                                                336-724-3335
                                                                                                                  Counsel for

Summons Submitted                                                                                                  ~ All Plaintiffs          D All Defendants D                        Only (list party(ies) represented)
                        0YesD No

[BJ Jury Demanded In Pleading                                                                                      0         Amount in controversy does not exceed $15,000
D Complex Litigation                                                                                               D Stipulate to arbitration
     \l'   '· \   "·    1:'::ti'.-t ,,"f',: , '"A .· :: ..J                      TYPE OF PLEADING                                                          c·         ,,. .•
                                                                                                                                                                  ,,,'if.,,, ••.        ",.,,,'' ,. . /'(:'.'   ,   ..   ,, . . ..   I
     (check all that apply)                                                                                                  (check all that apply)
0    Amend (AMND)                                                                                                  □ Failure To State A Claim (FASC)
D    Amended Answer/Reply (AMND-Response)                                                                          □ Implementation Of Wage Withholding In Non-lV-D Cases (OTHR)
□ Amended Complaint (AMND)                                                                                         □ Improper Venue/Division (IMVN)
D Assess Costs (COST)                                                                                              □ Including Attorney's Fees (ATTY)
D Answer/Reply (ANSW-Response) (see Note)                                                                          □ Intervene (INTR)
D Change Venue (CHVN)                                                                                              □ lnterplead (OTHR)
!BJ Complaint (COMP)                                                                                               □ Lack Of Jurisdiction (Person) (LJPN)
□ Confession Of Judgment (CNJF)                                                                                    □ Lack Of Jurisdiction (Subject Matter) (LJSM)
□ Consent Order (CONS)                                                                                             □ Modification Of Child Support In IV-D Actions (MSUP)
□ Consolidate (CNSL)                                                                                               □ Notice Of Dismissal With Or Without Prejudice (VOLD)
□ Contempt (CNTP)                                                                                                  □ Petition To Sue As Indigent (OTHR)
□ Continue (CNTN)                                                                                                  □ Rule 12 Motion In Lieu Of Answer (MOLA)
□ Compel (CMPL)                                                                                                    □ Sanctions (SANG)
□ Counterclaim (CTCL) Assess Court Costs                                                                           □ Set Aside (OTHR)
□ Crossclaim (list on back) (CRSS) Assess Court Costs                                                              □ Show Cause (SHOW)
□ Dismiss (DISM) Assess Court Costs                                                                                □ Transfer (TRFR)
□ Exempt/Waive Mediation (EXMD)                                                                                    □ Third Party Complaint (list Third Party Defendants on back) (TPCL)
□ Extend Statute Of Limitations, Rule 9 (ESOL)                                                                     □ Vacate/Modify Judgment (VCMD)
□ Extend Time For Complaint (EXCO)                                                                                 □ Withdraw As Counsel (WDCN)
□ Failure To Join Necessary Party (FJNP)                                                                           □ Other (specify and list each separately)




NOTE: All filings in civil actions shall include as the first page of the filing a cover sheet summarizing the critical elements of the filing in a format prescribed by the Administrative
      Office of the Courts, and the Clerk of Superior Court shall require a party to refile a filing which does not include the required cover sheet. For subsequent filings in civil
      actions, the filing party must either include a General Civil (AOC-CV-751), Motion (AOC-CV-752), or Court Action (AOC-CV-753) cover sheet.

 AOC-CV-751, Rev. 1/14                                                                                      (Over)
 © 20 14 Adm inistrative Office of the Courts
                                                                                                                                                                                                                EXHIBIT
                  Case 7:24-cv-01009-D-KS                                       Document 1-3                                         Filed 10/31/24                                 Page 1 of 13                               1
                                   . ..
                                          ..   ·•--·--   ..   I              CLAIMS FOR RELIEF                      I                                                           ,.                          !


D Administrative Appeal (ADMA)                                     D Limited Driving Privilege - Out-Of-State           0   Product Liability (PROD)
D Appointment Of Receiver (APRC)                                          Convictions (PLOP)                            0   Real Property (RLPR)
D Attachment/Garnishment (ATTC)                                    D Medical Malpractice (MDML)                         D Specific Performance (SPPR)
□ Claim And Delivery (CLMD)                                        D Minor Settlement (MSTL)                            !RI Other (specify and list each separately)
□ Collection On Account (ACCT)                                     □ Money Owed (MNYO)                                      Sex (male) Discrimination in Violation of Title
□ Condemnation (CNDM)                                              D Negligence - Motor Vehicle (MVNG)                      VII; Hostile Work Environment in Violation of
                                                                                                                            Title VII- Sex (male); Retaliation in Violation of
□ Contract (CNTR)                                                  D Negligence - Other (NEGO)                              Title VII; Race Discrimination-Violations of 42
□ Discovery Scheduling Order (DSCH)                                0   Motor Vehicle Lien G.S. 44A (MVLN)                   U.S.C. § 1981; Race and National Origin
□ Injunction (INJU)                                                D Possession Of Personal Property (POPP)                 Discrimination in Violation of Title VII;
                                                                                                                            Termination in Violation of the Public Policy of~
                                                                                               ,..         -                ... t   l"!...   ..t'.,_T,-,   n   ,., .. ril..T,   •      r-,. _•   •




Date ~ / \   qIfx O9-4                                                                     ISigtrri°thtlm~ Pn-                  .J.to- _,
                                                                                                                                                    r1-A
                                                                                                                \
 FEES IN G.S. 7A-308 APPLY                                                                            \J
 Assert Right Of Access (ARAS)
 Substitution Of Trustee (Judicial Foreclosure) (RSOT)
 Supplemental Procedures (SUPR)

 PRO HAC VICE FEES APPLY
 Motion For Out-Of-State Attorney To Appear In NC Courts In A Civil Or Criminal Matter (Out-Of-State Attorney/Pro Hae
 Vice Fee)

 No.    D Additional Plaintiff(s)




                                                                                                                                                                                     Summons
No.     D Additional Defendant(s)                                 D Third Party Defendant(s)                                                                                         Submitted

                                                                                                                                                                                     □ Yes ONo

                                                                                                                                                                                     □ Yes ONo

                                                                                                                                                                                     □ Yes □ No

                                                                                                                                                                                     OYes            D No
                                                                                                                                                                                     OYes        D No
Plaintiff(s) Against Whom Counterclaim Asserted




Defendant(s) Against Whom Crosse/aim Asserted




 AOC-CV-751, Side Two, Rev. 1/14
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               Case 7:24-cv-01009-D-KS                                     Document 1-3                Filed 10/31/24                        Page 2 of 13
 STATE OF NORTH CAROLINA                                                                                   ► File No. ~ 4 C\_) s ct""\ lo j
                    ROBESON                                                                                           In The General Court Of Justice
                                                      County
                                                                                                                  D District  ~ Superior Court Division
Name Of Plaintiff
Rudy Locklear
Address
                                                                                                                   CIVIL SUMMONS
                                                                                            □ ALIAS AND PLURIES SUMMONS (ASSESS FEE)
City, State, Zip


                                      VERSUS                                                                                                     G.S. 1A-1 , Rules 3 and 4
Name Of Defendant(s)                                                                  Date Original Summons Issued
Robeson Community College
                                                                                      Dale(s) Subsequent Summons(es) Issued




 To Each Of The Defendant(s) Named Below:
Name And Address Of Defendant 1                                                       Name And Address Of Defendant 2
Robeson Community College
c/o Melissa Singler, President
P.O. Box 1420
Lumberton, NC 28359

                    IMPORTANT! You have been sued! These papers are legal documents, DO NOT throw these papers out!
                    You have to respond within 30 days. You may want to talk with a lawyer about your case as soon as


 &                  possible, and, if needed, speak with someone who reads English and can translate these papers!
                    jlMPORTANTE! jSe ha entablado un proceso civil en su contra! Estos papeles son documentos legales.
                    iNO TIRE estos papeles!
                    Tiene que contestar a mas tardar en 30 dias. jPuede querer consultar con un abogado lo antes posible
                    acerca de su caso y, de ser necesario, hablar con alguien que lea ingles y que pueda traducir estos
                    documentos!
 A Civil Action Has Been Commenced Against You I
 You are notified to appear and answer the complaint of the plaintiff as follows:
 1. Serve a copy of your written answer to the complaint upon the plaintiff or plaintiff's attorney within thirty (30) days after you have been
    served. You may serve your answer by delivering a copy to the plaintiff or by mailing it to the plaintiffs last known address, and
 2. File the original of the written answer with the Clerk of Superior Court of the county named above.
 If you fail to answer the complaint, the plaintiff will apply to the Court for the relief demanded in the complaint.
Name And Address Of Plaintiff's Attorney (if none, Address Of Plaintiff)              Date Issued

Elizabeth B . Hilker                                                                           °l \20 \ Z.\,,\             ITTm\ \"·   4lc           ~AM     □ PM

                                                                                                         l
Elliot Morgan Parsonage, PLLC
300 E. Kingston Avenue, Suite 200
                                                                                      Signatur\ \_,
                                                                                                              \       ,/'-j)\J\tAA               -
                                                                                       & •                 lb
Charlotte, NC 28203
                                                                                                                                             -
                                                                                              Deputy CSC             Assistant CSC      D Clerk Of Superior Court


                                                                                      Date Of Endorsement
                                                                                                                           ITTme
0 ENDORSEMENT (ASSESS FEE)                                                                                                                           □ AM    □ PM
     This Summons was originally issued on the date indicated                         Signature
     above and returned not served. At the request of the plaintiff,
     the time within which this Summons must be served is
     extended sixty (60) days.                                                             ODeputyCSC             D Assistant CSC      D Clerk Of Superior Court

 NOTE TO PARTIES: Many counties have MANDATORY ARBITRATION programs in which most cases where the amount in controversy is $25,000 or
                             less are heard by an arbitrator before a trial. The parties will be notified if this case is assigned for mandatory arbitration, and, if
                             so, what procedure is to be followed.


                                                                                  (Over)
  AOC-CV-100, Rev. 4118
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                    Case 7:24-cv-01009-D-KS                                Document 1-3             Filed 10/31/24              Page 3 of 13
           ... ~- .                                                                                                    ..

                                                                I       RETURN OF SERVICE                          I
 I certify that this Summons and a copy of the complaint were received and served as follows:

                                                                              DEFENDANT 1
Date Served                             ITime Served
                                                                    QAM       QPM
                                                                                          Name Of Defendant



 □ By delivering to the defendant named above a copy of the summons and complaint.
 □ By leaving a copy of the summons and complaint at the dwelling house or usual place of abode of the defendant named above with a
       person of suitable age and discretion then residing therein.

 □ As the defendant is a corporation, service was effected by delivering a copy of the summons and complaint to the person named
       below.
        Name And Address Of Person IMth Whom Copies Left (if corporation, give title of person copies left with)




 0 Other manner of service (specify)



 0 Defendant WAS NOT served for the following reason:



                                                                              DEFENDANT2
Date Served                             ITime Served
                                                                    QAM       QPM
                                                                                          Name Of Defendant



 □ By delivering to the defendant named above a copy of the summons and complaint.
 □ By leaving a copy of the summons and complaint at the dwelling house or usual place of abode of the defendant named above with a
       person of suitable age and discretion then residing therein.

 □ As the defendant is a corporation, service was effected by delivering a copy of the summons and complaint to the person named
       below.
        Name And Address Of Person IMth Whom Copies Left (if corporation, give title of person copies left with)




 0 Other manner of service {specify)



 0 Defendant WAS NOT served for the following reason:



Service Fee Paid                                                                         Signature Of Deputy Sheriff Making Return
$
Date Received                                                                            Name Of Sheriff (type or print)


Date Of Return                                                                           County Of Sheriff



    AOC-CV-100, Side Two, Rev. 4/18
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STATE OF NORTH CAROLIN#..:'                 I~T~ GENERAL COURT OF JUSTICE
COUNTY OF ROBESON     V                      Lse:i#ERIOR COURT DIVISION
                                                         FILE NO: Zfl\(JJS'2'1 ~ I




RUDY LOCKLEAR

                          Plaintiff
                    v.                                     COMPLAINT

ROBESON COMMUNITY
COLLEGE,

                           Defendant.




        Plaintiff, complaining of Defendant Robeson Community College ("RCC"), alleges
the following:

                                        INTRODUCTION

        1.    This is an action for declaratory and injunctive relief, and for damages
sustained by Plaintiff through the unlawful discrimination, hostile work environment, and
ultimate termination of his employment by Defendant. Plaintiff asserts right and claims
arising under Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000 et seq. (Title VII),
42 U.S.C. § 1981 and the common law of the State ofNorth Carolina.

                                            PARTIES

       2.     Plaintiff, Rudy Locklear, 42, is a resident of Robeson, North Carolina. At all
relevant times of this action, Plaintiff was an employee of Defendant as defined by Title
VII, 42 U.S.C. § 1981, and the laws of the State ofNorth Carolina.
       3.      Defendant RCC is a corporation organized, and existing under the law of the
state of North Carolina. Defendant is located in Robeson County, North
Carolina. Defendant is a community college providing education services, including, but
not limited to Basic Law Enforcement Training.




      Case 7:24-cv-01009-D-KS         Document 1-3       Filed 10/31/24    Page 5 of 13
       4.   At all times pertinent to this action, Defendant employed more than fifteen
(15) employees and was the employer as defined by Title VII.
       5.    Upon information and belief, no senior leadership positions are held by
people who identify themselves as gay.
                                               FACTS

          6.    Plaintiff initially began work for Defendant in or around 2013.
      7.      Plaintiff was initially hired in the position of an adjunct instructor in the
Criminal Justice Program.
      8.      On or about July 22, 2020, Plaintiff became the Director of the BLET and
Criminal Justice Technology Programs.
          9.    Plaintiffremair1ed in that position until his termination on May 15, 2023.
          10.   Plaintiff is gay.
          11.   Defendants were aware of Plaintiffs sexuality at all times pertinent to this
matter.
       12.      Melissa Singler was hired to be the President ofRCC on or around November
1, 2020.
        13.    Shortly thereafter, Plaintiffbegan hearing rumors that complaints were being
made regarding his position as Director of the BLET and Criminal Justice Programs due
to his sexuality.
       14.    Plaintiff is aware of comments President Singler made which indicate that
she does not approve of people who are gay.
       15.    Plaintiff is also aware of other individuals in leadership positions who took
issue with his sexual orientation.
       16.   Plaintiff is a Native American of the Lumbee Tribe and serves on the Lumbee
Tribal Counsel.
       17.     President Singler is also Native American but is a member of a different tribe,
specifically the Waccamaw Siouan Tribe.
       18.   Fallowing President Singler' s hire with Defendant, Plaintiff became aware
of other Native American men, who do not belong to President Singler's tribe, whose
employment was terminated.
       19.    In October, 2021, he requested a meeting with human resources to discuss
his concerns.
          20.   This meeting took place on October 26, 2021.
        21.    During the meeting he asked that Human Resources protect him from
retaliation for bringing to their attention the harassment he was facing.




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       22.   Following this meeting, it became apparent to Plaintiff that school
leadership, including President Singler were looking for reasons to terminate his
employment.
     23.    Other members of the law enforcement community informed Plaintiff that
members of school administration were upset Plaintiff held the position of Director of the
BLET and Criminal Justice Programs due to his sexuality.
        24.    Human Resources did not protect him from ongoing harassment or
retaliation.
                    Plaintiff's Discharge from Employment with Defendant

       25.     Despite Plaintiff's complaints and Defendant's knowledge of the same,
Defendant terminated Plaintiff's employment on or around May 15, 2023 for reasons that
are entirely pretextual and unworthy of belief.
      26.    Plaintiff was suspended on February 28, 2023, shortly after reporting to
Defendant that he believed four of his students were cheating.
      27.      Defendant provided no rationale for his suspension other than they feared he
may retaliate.
       28.     Defendant had no legitimate basis for this concern.
       29.     Plaintiff was following the procedures of Defendant at the time he made the
report of his cheating concerns.
       30.    He was told on or around March 1, 2023, that his employment was terminated
and that his General Instructor Certification had been revoked.
       31.     Defendant does not have the ability to revoke his General Instructor
Certification.
       32.     Plaintiff maintains his General Instructor Certification.
       33.    Following the conversation in which Plaintiff was infonned that his General
Instructor Certification was revoked, Plaintiff spoke with the North Carolina Criminal
Justice Training and Standards Commission who confirmed that his General Instructor
Certification was still valid.
       34.   When Plaintiff informed Defendant of the above, instead of being terminated
as of March 1, 2023, he was suspended and ultimately terminated on May 15, 2023.
       35.    Prior to his report, Plaintiff had received no discipline of any kind including
but not limited to coaching and counseling, verbal warnings, or written warnings.
      36.     Defendant had no legitimate basis for terminating Plaintiff's employment on
February 28, 2023, or suspending Plaintiff's employment thereafter.
     37. Defendant had no legitimate basis for terminating Plaintiff's employment on
May 15, 2023.




       Case 7:24-cv-01009-D-KS         Document 1-3      Filed 10/31/24    Page 7 of 13
          38.    Defendant's grounds for terminating Plaintiff are pretextual and unworthy of
belief.
                      Plaintiff's Filing of his EEOC Charge of Discrimination
                            and Exhaustion of Administrative Remedies

       39.    As a result of Defendant's actions, on or about June 12, 2023 Plaintiff filed
a Charge of Discrimination (Charge# 433-2023-03067) with the EEOC at their Raleigh
office alleging race, national origin, sex discrimination, and retaliation.
       40.     On June 25, 2024, the EEOC issued notice of Plaintiffs right to sue with
respect to his charge against Defendant.
          41 .   Plaintiff has complied with all procedural prerequisites to filing this action.

                                   FIRST CLAIM FOR RELIEF
                         Sex (male) Discrimination in Violation of Title VII

          42.    Plaintiff hereby incorporates the foregoing paragraphs as if fully set out
herein.
       43.     The Supreme Court in the case of Bostock v. Clayton County, held that sex
is necessarily a but-for cause when an employer discriminates against an employee on the
basis of their sexual orientation as an employer who discriminates on those grounds
inescapably relies on sex in its decision making. Bostock v. Clayton County, 590 U.S. 644,
662, 140 S. Ct. 1731, 1742 (2020).
      44. As stated above, Plaintiff was a member of the protected class under Title
VII as a gay male and was protected from by Title VII from sex discrimination and
harassment in the workplace.
      45.   Throughout his employment with Defendant, Plaintiff was subjected to
unwelcome sex discrimination that was persistent and pervasive.
       46.      Specifically, Defendant wrongfully and intentionally discriminated against
Plaintiff in violation of 42 U.S.C. § 2000e-2, as follows:
              a.      Subjecting Plaintiff to a hostile workplace due to his sexual
    orientation, and failing to take reasonable and prompt corrective action to address and
    end discrimination;
              b.      Subjecting Plaintiff to discriminatory and harassing statements,
    comments, and unlawful conduct as a result of sex (male);
              c.      Subjecting Plaintiff- to disparate treatment in comparison to his
    heterosexual colleagues; and
              d.      Failing to adequately investigate and remedy Plaintiff complaints of
    sex discrimination and unlawful conduct in the workplace.




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        47.    As a proximate result of Defendant's acts of sex discrimination against
Plaintiff, Plaintiff has suffered substantial damages, including lost income and benefits and
other economic losses, mental anguish, and emotional distress; loss of reputation and
quality of life, and other damages to be proven at trial.
       48.   Plaintiff is entitled to appropriate relief pursuant to Title VII, including
compensatory damages and reasonable attorneys' fees and costs for his representation
herein pursuant to 42 U.S.C. § 2000e-5(k).
       49. The acts of Defendant, as described above, were malicious, and evinced an
intentional or reckless indifference to and disregard for the federally protected civil rights
of Plaintiff. Accordingly, Plaintiff is entitled to punitive damages in an amount to be
determined by a jury pursuant to 42 U.S.C. § 1981a(b).

                               SECOND CLAIM FOR RELIEF
                 Hostile Work Environment in Violation of Title VII-Sex (male)

          50.   Plaintiff hereby incorporates the foregoing paragraphs as if fully set out
herein.
       51 . The Supreme Court in the case of Bostock v. Clayton County, held that sex
is necessarily a but-for cause when an employer discriminates against an employee on the
basis of their sexual orientation as an employer who discriminates on those grounds
inescapably relies on sex in its decision making. Bostock v. Clayton County, 590 U.S. 644,
662,140 S. Ct. 1731, 1742 (2020).

       52.    As stated above, Plaintiff was a member of the protected class under Title
VII as a gay male and was protected from by Title VII from sex discrimination and a hostile
work environment in the workplace.
      53.   Throughout his employment with Defendant, Plaintiff was subjected to
unwelcome sex discrimination that was persistent and pervasive.
       54.      Specifically, Defendant wrongfully and intentionally discriminated against
Plaintiff in violation of 42 U.S.C. § 2000e-2, as follows:
              a.     Subjecting Plaintiff to a sexually hostile workplace, and failing to take
       reasonable and prompt corrective action to address and end discrimination;
              b.     Subjecting Plaintiff to discriminatory and harassing statements,
       comments, and conduct as a result of his sex (male);
              c.     Subjecting Plaintiff to disparate treatment in comparison to his
       heterosexual colleagues;
              d.    Discharging Plaintiff as a result of discrimination on the basis of his
       sex (male).




      Case 7:24-cv-01009-D-KS         Document 1-3       Filed 10/31/24    Page 9 of 13
        55.    As a proximate result of Defendant's acts of sex discrimination and hostile
work environment against Plaintiff, Plaintiff has suffered substantial damages, including
lost income and benefits and other economic losses, mental anguish, and emotional
distress; loss of reputation and quality of life, and other damages to be proven at trial.
       56. The acts of Defendant, as described above, were malicious, and evinced an
intentional or reckless indifference to and disregard for the federally protected civil rights
of Plaintiff. Accordingly, Plaintiff is entitled to punitive damages in an amount to be
determined by a jury pursuant to 42 U.S.C. § 1981a(b).
                            THIRD CLAIM FOR RELIEF
                           Retaliation in Violation of Title VII

        57. Plaintiffhereby incorporates by reference the foregoing paragraphs as if fully
set forth hereir1.
       58. During his employment, Plaintiff engaged in protected activity under Title
VII, when he complained about disparaging comments regarding his sexuality and racial
inequality on or about October 26, 2021 , and opposing the unlawful employment practices
and conduct of Defendant.
      59.     At the time Defendant took adverse employment actions against Plaintiff, he
was performing his job in a satisfactory manner meeting or exceeding the reasonable
expectations of his employer.

        60.     As a proximate result of defendant's illegal acts of retaliation against
Plaintiff, Plaintiff has suffered substantial damages, including lost income and benefits and
other economic losses; mental anguish and emotional distress; loss of reputation and
quality of life; and other damages to be proven at trial.
       61.   Plaintiff is entitled to appropriate relief pursuant to Title VII, including
compensatory damages and reasonable attorney's fees and costs for his representation
herein pursuant to 42 U.S.C. § 2000e-5(k).
                          FOURTH CLAIM FOR RELIEF
                 Race Discrimination - Violations of 42 U.S.C. § 1981

        62.    Plaintiff hereby incorporates by reference the foregoing paragraphs as if fully
set forth herein.
       63 . At all times pertinent to this action, Plaintiff was a protected member of a
class as an individual of Native American race, ancestry, and descent.
       64. Defendant intentionally discriminated against Plaintiff as a result of his race
during the course of his employment and termination which is in violation of the Civil
Rights Act of 1866, 42 U.S .C. §1981 , as amended by the Civil Rights Act of 1991.




     Case 7:24-cv-01009-D-KS         Document 1-3       Filed 10/31/24     Page 10 of 13
        65 . As set forth herein, Defendant created a hostile work environment which was
sufficiently severe and pervasive for the Plaintiff based on his race in violation of 42 U.S.C.
§ 1981.
       66.    As set forth herein, Defendant retaliated against Plaintiff for engaging in
protected activity and opposing race discrimination and related unlawful employment
practices by discharging Plaintiff on or about May 15, 2023 , in violation of 42 U.S.C. §
1981.
       67.    By actions described above, the Defendant intended to, and did, discriminate
against Plaintiff on the basis of his race in violation of 42 U.S .C. § 1981 , with respect to
the terms, conditions and privileges of his employment.
        68.    As a proximate result of defendant's illegal acts of retaliation against
Plaintiff, Plaintiff has suffered substantial damages, including lost income and benefits and
other economic losses; mental anguish and emotional distress; loss of reputation and
quality of life; and other damages to be proven at trial.
      69.     Plaintiff is entitled to appropriate relief pursuant to 42 U.S.C. § 1981, as
amended, including compensatory damages and reasonable attorney's fees and costs
pursuant to 42 U.S.C. § 1988.


                              FIFTH CLAIM FOR RELIEF
          Race and National Origin Discrimination in Violation of Title VII

        70. Plaintiff hereby incorporates by reference the foregoing paragraphs as if fully
set forth herein.
       71.     Plaintiff is of Native American race and national origin and is within the
classes of protected persons by Title VII.
       72. Defendant wrongfully and intentionally discriminated against Plaintiff, as
alleged herein, because of his race and national origin in violation of Title VII. This would
include the disparate treatment of Plaintiff by Defendant on the basis of race and national
ongm.
       73.    Defendant wrongfully and intentionally engaged in discriminatory practices,
including its termination of Plaintiff because of Plaintiffs race and national origin in
violation of Title VII.
       74.     As a proximate result of Defendant's illegal acts of race and national origin
discrimination against Plaintiff, Plaintiff has suffered substantial damages, including lost
income and benefits and other economic losses; mental anguish and emotional distress;
loss of reputation and quality of life; and other damages to be proven at trial.




      Case 7:24-cv-01009-D-KS         Document 1-3      Filed 10/31/24     Page 11 of 13
       75.   Plaintiff is entitled to appropriate relief pursuant to Title VII, including
compensatory damages and reasonable attorney' s fees and costs for his representation
herein pursuant to 42 U.S.C. § 2000e-5(k).
                          SIXTH CLAIM FOR RELIEF
 Termination in Violation of the Public Policy of the State of North Carolina -Race
                                and National Origin

        76.     Plaintiff hereby incorporates by reference the foregoing paragraphs as if
fully set forth herein.
       77.     The public policy of North Carolina, as expressed in N.C. Gen. Stat. § 143-
422.2 mandates that employers of fifteen or rnore employees shall not discriminate on the
basis of race. At all times pertinent to this claim, Defendant employed in excess of fifteen
employees.
       78.   Defendant's decision to discharge Plaintiff from employment constituted a
wrongful discharge under the common law in that in violated the public policy of the state
of North Carolina as set out in N.C . Gen. Stat. § 143-422.2.
       79.    Defendant violated the public policy of North Carolina in its termination of
Plaintiff's employment because ofhis Native American race and national origin on or about
May 15, 2023 .
       80. As a proximate result of Defendant's illegal acts of retaliation against
Plaintiff, Plaintiff has suffered substantial damages, including lost income and benefits and
other economic losses, mental anguish and emotional distress, loss of reputation and
quality of life, and other damages to be proven at trial.
        81.   Defendant's acts, as described above, were deceptive, willful, and wanton,
and evinces an intentional or reckless indifference to and disregard for the civil rights of
Plaintiff. Aggravating circumstances concerning Defendant's conduct are provided in
Paragraphs 2-35.
                                REQUEST FOR RELIEF

       WHEREFORE, Plaintiff requests the following relief:
       A.    That he recovers compensatory damages against Defendant in an amount in
excess of $100,000;
       B.    That he recovers punitive damages against Defendant in an amount in the
judgment of the jury;
       C.    That he be awarded pre-trial and post-judgment interest on all amounts
awarded herein;
       D.    That he be awarded the costs of this action; and
      E.     That he be granted further relief as the court deems just and proper.




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                      PLAINTIFF'S DEMAND FOR A JURY TRIAL

      Pursuant to Rule 38(b) of the North Carolina Rules of Civil Procedure, Plaintiff
hereby demands a trial by jury on all issues presented herein.

      This the 19 th day of September 2024.



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